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7
                               IN THE UNITED STATES DISTRICT COURT
8
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
9
10   UNITED STATES OF AMERICA,                   )   Case No. 2:24-cr-00280-DJC
                                                 )
11                            Plaintiff,         )   NOTICE OF MOTION; MOTION TO
                                                 )   UNSEAL ECF NO. 16
12          vs.                                  )
                                                 )
13   DARAGH FINBAR HAYES,                        )   Date: December 9, 2024
                                                 )   Time: 2:00 P.M.
14                            Defendant.         )   Judge: Hon. Chi Soo Kim
                                                 )
15                                               )
16   TO:     PHILLIP TALBERT, UNITED STATES ATTORNEY, ALEXIS KLEIN AND
             CHRISTINA MCCAUL, ASSISTANT UNITED STATES ATTORNEYS,
17           COUNSEL FOR PLAINTIFF:
18           PLEASE TAKE NOTICE that on December 9, 2024, at 2:00 p.m., or as soon thereafter
19   as counsel may be heard, Defendant, by and through his attorney of record, Assistant Federal
20
     Defender Andrew Francisco, will bring the following motion to unseal ECF No. 16 for hearing
21
     before the Honorable Chi Soo Kim, United States Magistrate Judge.
22
                                           I.   INTRODUCTION
23
             Defendant Daragh Finbar Hayes respectfully moves this Court to unseal ECF No. 16,
24
25   Defendant’s Motion to Compel Discovery, and to issue findings that the Clerk of the Court acted

26   without legal authority in restricting public access to the document, and the government’s
27   informal request for the Clerk’s intervention constituted an improper intrusion into judicial
28
     processes.
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1            On October 25, 2024, the Clerk restricted public access to Defendant’s motion within
2    minutes of receiving an informal email from the government. This action, taken without judicial
3
     approval, violated Local Rule 140(e) and the presumption of public access under Local Rule
4
     141.1(a)(1). Subsequently, the Court issued an order directing Defendant to file a redacted
5
     version of the motion but failed to cite any authority for maintaining restrictions on the
6
7    unredacted filing or to address the procedural impropriety of the Clerk’s actions.

8            Defendant’s filing does not disclose identifying information about the alleged minor
9    victim, and Ninth Circuit precedent establishes that relational terms, gender pronouns, and
10
     general descriptors do not violate statutory privacy protections. The Clerk’s unauthorized
11
     actions, combined with the government’s improper request, undermine the neutrality and
12
     transparency of the judicial process, warranting immediate correction.
13
14                   II.   RELEVANT FACTUAL AND PROCEDURAL HISTORY

15           Mr. Hayes is charged with Sexual Exploitation of a Minor in violation of 18 U.S.C. §

16   2251(a) and (e). He was initially charged by criminal complaint on October 2, 2024, and was

17   ordered detained at his initial appearance due to concerns about flight risk and community safety.
18
     ECF No. 4. He was indicted by a federal grand jury on October 10, 2024, and arraigned on
19
     October 16, 2024, at which time he entered a plea of not guilty. ECF No. 14. Before arraignment,
20
     the government produced an initial set of discovery on October 11, 2024, which included
21
22   photographs and records. These materials, on their own, are neither incriminating nor provide

23   direct proof of the allegations against Mr. Hayes.

24           The government imposed restrictive conditions on the defense’s access to the remainder
25   of the discovery, citing 18 U.S.C. § 3509(d). The government conditioned the production of
26
     these materials on the defense agreeing to use terms that include the word “victim” to describe
27
     the minor who is the alleged subject of Mr. Hayes’ criminal conduct. Until such agreement was
28

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1    reached, the government required that the defense review these materials—which do not
2    constitute child sexual abuse materials (CSAM) covered under § 3509(m)—exclusively at the
3
     U.S. Attorney’s Office. On October 16, 2024, undersigned counsel submitted a letter requesting
4
     that the government produce open-file discovery in compliance with Rule 16 of the Federal
5
     Rules of Criminal Procedure.
6
7             On October 18, 2024, the defense formally raised concerns about the restrictions imposed

8    on non-CSAM materials, arguing that § 3509(d) does not apply to such materials and should not
9    prevent the defense from obtaining copies of them. In the same correspondence, the defense
10
     addressed the government’s proposed protective order and suggested the use of neutral terms,
11
     such as “Identified Minor” or “Referenced Minor,” instead of “Child Victim,” to avoid
12
     prejudicial assumptions before adjudication. The defense requested less restrictive conditions to
13
14   facilitate trial preparation.

15            In an email dated October 23, 2024, Assistant U.S. Attorney Alexis Klein effectively

16   reiterated the government’s position, maintaining that non-CSAM materials should remain
17
     restricted and accessible only at the U.S. Attorney’s Office unless the defense agreed to the
18
     government’s proposed protective order. The government refused to accommodate the defense’s
19
     concerns about access and terminology, further constraining the defense’s ability to prepare for
20
21   trial.

22            On October 25, 2024, the defense filed a Motion to Compel Discovery, which included

23   relational terms and gender pronouns. The motion adhered to privacy protections under
24   § 3509(d), omitting any personally identifying information. Later that same day, at 3:44 PM,
25
     Assistant United States Attorney Christina McCall emailed the Clerk of the Court, asserting that
26
     the motion violated § 3509(d) and requesting immediate restriction of public access. Ex. A. By
27
     3:50 PM, the Clerk confirmed that public access to ECF No. 16 had been restricted. Id. This
28

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1    action was taken without judicial authorization.
2            The Clerk subsequently issued a notice directing the defense to file a redacted version of
3
     the motion. ECF No. 17. In response, the defense filed a Request to Seal, complying with the
4
     Clerk’s directive while expressly reserving the right to challenge the government’s assertion that
5
     the filing violated § 3509(d) or any related statute. ECF No. 18. The defense also reserved the
6
7    right to dispute the propriety of the government’s intervention with the Clerk in restricting access

8    to the motion. Id.
9            On October 28, 2024, the Court via minute order denied the defense’s motion to seal
10
     without prejudice, stating that the defense had not provided sufficient authority to justify sealing
11
     the entire filing. ECF No. 19. The Court referenced the presumption of public access under Local
12
     Rule 141.1(a)(1) and suggested that redacted versions could be filed to protect sensitive
13
14   information. However, the minute order did not expressly direct the defense to file redacted

15   copies, and its vague language reasonably led the defense to believe that public access to the

16   unredacted filing was permissible. See id.
17
             On October 30, 2024, the Court issued an order addressing the defense’s procedural
18
     concerns and clarifying its intent with respect to ECF No. 19. See ECF No. 24. The Court
19
     directed the defense to file redacted versions of the motion to compel by November 1, 2024,
20
21   purportedly to “facilitate the consideration of the discovery motion on its merits without further

22   delay, without potentially compromising the legitimate privacy interests of the alleged victim,

23   and without unduly extending the denial of public access to the substance of the motion.” Id. The
24   Order also stated that, “pending hearing on the motion to compel discovery (ECF No. 16),
25
     electronic access to the unredacted documents filed at ECF No. 16 will remain restricted.” Id.
26
     (emphasis added). This language created a reasonable expectation that the Court would address
27
     the propriety of these restrictions, as well as the procedural and substantive concerns surrounding
28

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1    the Clerk’s and prosecution’s actions, during the upcoming hearing.
2            The government filed its opposition to the Motion to Compel on November 5, 2024,
3
     reiterating its position that the defense’s filing violated § 3509(d) and opposing broader
4
     discovery access. ECF No. 27. In reply, the defense underscored that the filing complied with
5
     privacy protections under § 3509(d) and Ninth Circuit precedent, which permits relational terms
6
7    and gender pronouns in public filings without violating privacy laws. ECF No. 29. The defense

8    also argued that the government’s restrictions on non-CSAM materials were unsupported by law.
9    Id.
10
             On November 15, 2024, the Court held a hearing on the defense’s motion to compel and
11
     subsequently denied the motion without prejudice. The hearing did not resolve these issues, as
12
     the Court neither revisited the Clerk’s procedural overreach nor addressed the government’s
13
14   conduct in circumventing judicial oversight to secure the Clerk’s intervention through its

15   October 25, 2024, email. Similarly, the Court did not rule on whether the use of relational terms

16   and general descriptors in ECF No. 16 violated § 3509(d), leaving the procedural irregularities
17
     and substantive questions surrounding the Clerk’s actions and the government’s conduct
18
     unaddressed.
19
             To date, the Court has not revisited these procedural disputes, and the unredacted filing
20
21   remains improperly restricted from public access.

22                                   III.    LEGAL STANDARDS

23           The presumption of public access to judicial records is a cornerstone of both

24   constitutional and common-law principles. Local Rule 141.1(a)(1) codifies this presumption,
25   providing that:
26
             All information provided to the Court in a specific action is presumptively public,
27           but may be sealed in whole or in part only upon a request that establishes that the
             information is privileged or otherwise legally protected. The request must set forth
28           the statutory or other authority for sealing, the requested duration, the identity, by
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1            name or category, of persons to be permitted access to the sealed documents, and
             all other relevant information.
2
     E.D. Cal. Local R. 141.1(a)(1). This rule aligns with the Supreme Court’s decision in Press-
3
4    Enterprise Co. v. Superior Court, 478 U.S. 1, 9 (1986), which held that public access to court

5    records fosters transparency, accountability, and public confidence in judicial proceedings.
6    Judicial oversight of sealing requests ensures that public access is restricted only where
7
     compelling reasons exist.
8
             Local Rule 140(e) reinforces this principle by limiting the authority to redact or seal court
9
     records to the judiciary: “No person other than the Court may seal or redact court records. The
10
11   Clerk does not have the authority to seal or redact documents without an order from the Court.”

12   E.D. Cal. Local R. 140(e). This limitation ensures that decisions affecting public access are made

13   by a neutral arbiter, preserving fairness and preventing administrative overreach.
14
             The privacy protections under 18 U.S.C. § 3509(d) are intended to safeguard the
15
     identities of minor victims in criminal cases. The statute provides that: “All papers to be filed in
16
     court that disclose the name of or any other information concerning a child shall be filed under
17
18   seal without necessity of obtaining a court order.” 18 U.S.C. § 3509(d)(2). While this provision

19   mandates the sealing of filings containing identifying information about minors, it applies

20   specifically to “the name of or any other information concerning a child” that would reveal their
21
     identity.
22
             Legislative history supports this narrower interpretation. In United States v. Harris, the
23
     court observed that the statute was designed to prevent the disclosure of specific identifying
24
     details, such as “names and addresses,” rather than general descriptors. 761 F. Supp. 409, 414
25
26   (D.D.C. 1991) (citing Congressman DeWine’s remarks during the statute’s enactment). This

27   reflects Congress’s intent to protect minors from public exposure while preserving transparency
28   and fairness in judicial proceedings.
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1            The use of initials in filings involving minors further illustrates this balance. Federal Rule
2    of Criminal Procedure 49.1(a)(3) requires that filings include “only the minor’s initials,” while
3
     Local Rule 140(a) similarly directs parties to avoid including minors’ names. These rules provide
4
     a neutral mechanism for protecting minors’ privacy without impairing the clarity or accessibility
5
     of court records. Relational terms, age references, and gender pronouns function in the same way
6
7    as initials—they provide necessary context while protecting the minor’s identity from disclosure

8    to the general public.
9            When read together, Local Rule 140(e) and § 3509(d)(2) assign complementary
10
     responsibilities. Section 3509(d)(2) obligates the filing party—not court staff—to identify and
11
     seal materials containing a minor’s identifying information. Local Rule 140(e), in turn, ensures
12
     that court staff, including the Clerk, cannot independently redact or restrict access without
13
14   judicial approval. These provisions operate harmoniously to balance the need for protecting

15   minor victims with the presumption of public access.

16           The Crime Victims’ Rights Act (CVRA) also provides privacy protections, granting
17
     victims “[t]he right to be treated with fairness and with respect for the victim’s dignity and
18
     privacy.” 18 U.S.C. § 3771(a)(8). However, the CVRA does not mandate sealing or redaction of
19
     public filings containing neutral relational terms or general descriptors. Instead, it complements §
20
21   3509(d) by addressing broader principles of fairness, which remain intact even when neutral

22   terms are used in public filings.

23           Finally, the Ninth Circuit’s consistent use of relational terms and gender pronouns in
24   public opinions involving § 2251 and similar statutes underscores that such language is
25
     permissible under § 3509(d). For example, the Ninth Circuit has repeatedly used descriptors such
26
     as “stepdaughter,” “daughter,” and “granddaughter” in its decisions without violating statutory
27
     privacy protections. These practices reflect the judiciary’s practical interpretation of § 3509(d)
28

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1    and its acknowledgment that neutral relational terms do not undermine the statute’s protective
2    purpose.
3
                                          IV.    ARGUMENT
4
             A. The Clerk’s Actions Were Procedurally Improper
5
             The Clerk of Court exceeded its authority by restricting public access to ECF No. 16
6
7    without judicial approval, in clear violation of Local Rule 140(e). This rule expressly prohibits

8    the Clerk from sealing or redacting court records without an order from the Court. By taking

9    unilateral action at the prosecution’s informal request, the Clerk bypassed the judicial oversight
10
     necessary to ensure neutrality and transparency in judicial proceedings.
11
             The email correspondence between the prosecution and the Clerk highlights the
12
     impropriety of this action. At 3:44 PM on October 25, 2024, the prosecution emailed the Clerk,
13
     asserting that ECF No. 16 violated 18 U.S.C. § 3509(d) and requesting immediate restriction of
14
15   public access. Ex. A. The Clerk restricted access within six minutes of receiving this email, as

16   confirmed in a 3:50 PM response. Id. This timeline reveals that the Clerk acted on the
17   government’s request with only one minute of consideration, a failure of independent judgment
18
     that undermines the Clerk’s role as a neutral administrator. By immediately complying with the
19
     government’s directive, the Clerk acted as an agent for the prosecution rather than as an impartial
20
     custodian of judicial records.
21
22           Even assuming the Clerk believed § 3509(d)(2) mandated sealing, this statute places the

23   burden on the parties—not the Clerk—to identify and seal filings containing a minor victim’s
24   identifying information. The statute does not empower the Clerk to evaluate filings or act sua
25
     sponte. The Clerk’s misunderstanding of its role led to a procedural violation of Local Rule
26
     140(e) and an unwarranted restriction of public access.
27
28

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1            Moreover, the Court’s silence on these critical issues is particularly troubling given its
2    own acknowledgment in ECF No. 24 that restrictions on public access should be narrowly
3
     tailored and temporary. The Order explicitly stated that electronic access to the unredacted filing
4
     would remain restricted “pending hearing on the motion to compel discovery,” suggesting that
5
     the propriety of these restrictions would be revisited during the hearing. By failing to address
6
7    these procedural irregularities or the substantive questions about § 3509(d) at the hearing, the

8    Court left unresolved the very issues it flagged as significant.
9            B. The Prosecution’s Conduct Was Both Procedurally and Substantively Improper
10
             The prosecution’s informal request to the Clerk compounded the procedural improprieties
11
     in this case and introduced substantive errors into the process. By engaging directly with the
12
     Clerk to restrict public access to ECF No. 16, the government circumvented the adversarial
13
14   process and improperly influenced court staff. This procedural shortcut denied the defense the

15   opportunity to challenge the government’s assertions before a neutral arbiter and subverted the

16   procedural safeguards that ensure judicial transparency and fairness.
17
             In addition to its procedural impropriety, the prosecution’s conduct was substantively
18
     flawed. The government misapplied § 3509(d) by asserting that the defense’s motion disclosed
19
     identifying information about the minor victim. In fact, the filing contained no such information;
20
21   instead, it used relational terms and general descriptors that do not violate the privacy protections

22   under § 3509(d). By mischaracterizing the content of the filing, the prosecution introduced

23   unnecessary restrictions on public access, undermining the transparency required of judicial
24   proceedings.
25
             The government’s reliance on the CVRA is similarly misplaced. While the CVRA grants
26
     victims “[t]he right to be treated with fairness and with respect for the victim’s dignity and
27
     privacy,” 18 U.S.C. § 3771(a)(8), it does not authorize the prosecution to bypass judicial
28

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1    oversight or direct court staff to take unilateral action. The government’s approach risks eroding
2    public confidence in the judiciary by creating the appearance that court staff act at the
3
     prosecution’s direction rather than as impartial administrators.
4
             C. The Filing Does Not Warrant Restriction
5
             The defense's motion to compel discovery adheres to the privacy protections mandated
6
7    by 18 U.S.C. § 3509(d) and relevant procedural rules. See ECF No. 16. The motion employs

8    neutral relational terms and general descriptors that do not disclose the minor's identity to the
9    general public. This approach aligns with the statute's intent to protect minors from public
10
     exposure while maintaining transparency in judicial proceedings.
11
             The legislative history of § 3509(d) supports this interpretation. In United States v.
12
     Harris, the court examined the statute’s background, citing Congressman DeWine’s remarks that
13
14   emphasized preventing the disclosure of names and addresses of child victims or witnesses. 761

15   F. Supp. At 414. This focus indicates that Congress aimed to shield specific identifying

16   information, not to impose broad restrictions on all descriptive terms. Id. (“The legislative
17
     history indicates that Congress intended to shield the names and addresses of child victims and
18
     witnesses from public disclosure.”).
19
             The district court’s analysis in Harris is consistent with the common practice of using
20
21   initials in court filings involving minors. Federal Rule of Criminal Procedure 49.1(a)(3) permits

22   the use of a minor’s initials in court documents to protect their identity. Similarly, the Local

23   Rules for the Eastern District of California endorse this practice. See E.D. Cal. Local R. 140(a). 1
24
25   1
      Local Rule 140(a) states, in relevant part:
26
             In compliance with the policy of the Judicial Conference of the United States and the E-
27           Government Act of 2002, and in order to promote electronic access to case files while also
             protecting personal privacy and other legitimate interests, parties shall refrain from
28           including, or shall partially redact where inclusion is necessary, the following personal data
             identifiers from all pleadings, documents, and exhibits, whether filed electronically or in
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1            The use of initials reflects a careful balance between protecting the minor’s identity from
2    public exposure and ensuring clarity and neutrality in judicial filings. While it is possible that
3
     individuals personally familiar with the case could deduce the minor’s identity through context,
4
     such instances are incidental to the statute’s primary goal: preventing identification by the
5
     general public.
6
7            Relational terms, age references, and gender pronouns function similarly to initials—they

8    provide necessary context without revealing the minor’s identity to the general public. The
9    government’s expansive interpretation of § 3509(d), which seeks to restrict these neutral
10
     descriptors, lacks support in the statute’s text and legislative history. Such an interpretation
11
     imposes unnecessary limitations on public access and transparency, contrary to the statute’s
12
     purpose.
13
14           The Ninth Circuit’s consistent use of relational terms and general descriptors in opinions

15   addressing cases under § 2251 further supports the defense’s interpretation of § 3509(d). For

16   instance, in United States v. Boam, 69 F.4th 601 (9th Cir. 2023), the court referred to the minor
17
     victim as the defendant’s “fourteen-year-old stepdaughter,” and in United States v. Mendez, 35
18
     F.4th 1219 (9th Cir. 2022), the court described the minor as the “fourteen-year-old daughter” of
19
     the defendant’s girlfriend. These cases and others, such as United States v. Overton, 573 F.3d
20
21   679 (9th Cir. 2009) (defendant’s “stepdaughter”); United States v. Evans-Martinez, 530 F.3d

22   1164 (9th Cir. 2008) (defendant’s “oldest daughter”); United States v. Williamson, 439 F.3d

23   1125 (9th Cir. 2006) (defendant’s “granddaughter”); and United States v. Wright, 373 F.3d 935
24   (9th Cir. 2004) (defendant’s “11-month-old son”), illustrate that relational terms and general
25
     descriptors do not compromise a minor’s privacy or violate § 3509(d). If such language
26
27
28           paper, unless the court orders otherwise: . . . (iii) the name of an individual known to be a
             minor, in which case use the minor's initials.
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1    conflicted with the statute’s privacy protections, the Ninth Circuit would not routinely use it in
2    its published opinions. The defense’s motion similarly adheres to these established standards and
3
     does not warrant restriction.
4
                                            V.    CONCLUSION
5
             For the foregoing reasons, the defense respectfully requests that the Court: (1) declare
6
     that the Clerk violated Local Rule 140(e) by restricting public access without a court order; (2)
7
8    find that the prosecution improperly circumvented judicial oversight by directly requesting the

9    Clerk’s intervention; and (3) order the unsealing of ECF No. 16, as the filing complies with all
10   applicable privacy protections.
11
             The Court’s intervention is necessary to restore public confidence in the neutrality of the
12
     judicial process, to uphold procedural safeguards, and to ensure transparency by removing
13
     unwarranted restrictions that violate the presumption of public access to judicial records.
14
15
16    November 21, 2024
                                                   HEATHER E. WILLIAMS
17                                                 Federal Defender

18
                                                   /s/Andrew Francisco
19                                                 ANDREW FRANCISCO
                                                   Assistant Federal Defender
20                                                 Attorney for Defendant
                                                   DARAGH FINBAR HAYES
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